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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

                                                §
 UNITED STATES OF AMERICA,
                                                §
                                                §
      Plaintiff,                                §
                                                §
                                                §
 v.                                             §   CAUSE NO. EP-21-CV-173-KC
                                                §
                                                §
 THE STATE OF TEXAS and GREG                    §
 ABBOTT, in his official capacity as            §
 Governor of the State of Texas,                §
                                                §
                                                §
      Defendants.                               §



 ANNUNCIATION HOUSE; ANGRY                      §
 TIAS & ABUELAS OF THE RIO                      §
 GRANDE VALLEY; JENNIFER                        §
 HARBURY; and FIEL HOUSTON,                     §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §   CAUSE NO. EP-21-CV-178-KC
                                                §
 GREG ABBOTT, in his official                   §
 capacity as Governor of the State of           §
 Texas; and STEVEN MCCRAW, in                   §
 his official capacity as Director of the       §
 State of Texas Department of Public            §
 Safety,                                        §
                                                §
      Defendants.                               §

                                            ORDER

         On this day, the Court considered Defendant Greg Abbott’s Unopposed Motion to Stay

Trial Court Proceedings, ECF No. 86. On March 18, 2022, Defendant Abbott filed a Notice of



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Appeal from this Court’s February 18, 2022, Order granting in part and denying in part

Defendants’ Motion to Dismiss based on Abbott’s assertion of sovereign immunity, ECF No. 85.

Defendant Abbott argues that this Court is now divested of jurisdiction over the matters on

appeal and that the claims remaining before this Court are inextricably intertwined with those on

appeal. Mot. 2. As such, upon due consideration, the Motion is GRANTED. This matter is

hereby STAYED pending resolution of Defendant Abbott’s interlocutory appeal.

        IT IS FURTHER ORDERED that Defendant Abbott shall move to lift the stay within

three days of entry of the Fifth Circuit’s mandate.

       SO ORDERED.

       SIGNED this 21st day of March, 2022.




                                              KATHLEEN CARDONE
                                              UNITED STATES DISTRICT JUDGE




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